              Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 1 of 15




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 23-CR-00349 (TJK)
         v.                                    :
                                               :
ISRAEL MATSON,                                 :
                                               :
                  Defendant                    :

                      GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence defendant Israel Matson to 14 days intermittent confinement as a condition of 2

years of probation, 60 hours of community service, and, consistent with the plea agreement in this

case, $500 in restitution.

    I.         Introduction

         Defendant Israel Matson, a 28-year-old restorer of Airstream trailers, participated in the

January 6, 2021 attack on the United States Capitol—a violent attack that forced an interruption

of Congress’s certification of the 2020 Electoral College vote count, threatened the peaceful

transfer of power after the 2020 Presidential election, injured more than one hundred police

officers, and resulted in more than 2.9 million dollars in losses. 1



1
  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
but the government has not yet included this number in our overall restitution summary ($2.9
                                                   1
           Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 2 of 15




          Matson pleaded guilty to a violation of 40 U.S.C. § 5104(e)(2)(G). The government’s

recommendation is supported by Matson’s (1) trespass inside the U.S. Capitol building for over

half an hour, where he carried a bullhorn which he allowed others to use inside the building.

          The Court must also consider that Matson’s conduct on January 6, like the conduct of

scores of other defendants, took place in the context of a large and violent riot that relied on

numbers to overwhelm police, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed. Here, the facts and circumstances of

Matson’s crime support a sentence of 2 years of probation with 14 days of intermittent

confinement, 60 hours of community service, and, consistent with the plea agreement in this case,

$500 in restitution in this case.

    II.      Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

          To avoid unnecessary exposition, the government refers to the general summary of the

attack on the U.S. Capitol. See DE 16.

               Defendant Matson’s Role in the January 6, 2021 Attack on the Capitol

          Matson flew from Utah to North Carolina, where he met a family member and drove to

Washington D.C. on January 6, 2021. He wore a red colored beanie cap with white lettering, rust

colored jacket, orange/rust colored backpack with red/orange colored hair, dark colored pants and

shoes, and carried a red/white bullhorn. See Image 1.




million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.


                                                2
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 3 of 15




           Image 1 - Israel Matson walking to the U.S. Capitol on January 6, 2021. 2
       Matson was captured on several different Closed-Circuit Television (CCTV) cameras and

open-source materials within the United States Capitol. Matson entered the United States Capitol

through the upper west terrace door at approximately 2:33 p.m. See Image 2.




                           Image 3 – Matson entered the West Terrace door


2
 Source: YouTube - Alyssa Marotta (Alyssa1979M) The March! Washington DC January 6 2021
https://www.youtube.com/watch?v=z_7Q8Tzlr7I&t=1017 Timecode: 16:56
                                               3
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 4 of 15




       He proceeded to the Rotunda, where he remained for less than one minute. See Image 4.




                           Image 4 – Matson in the South Rotunda


       Matson then walked through the Statuary Hall and the Statuary Hall Connector on this way

to the House of Representatives Chamber. See Image 5.




                              Image 5 – Matson in Statuary Hall




                                              4
           Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 5 of 15




       Matson joined a group of other rioters standing outside the doors leading to the House of

Representatives Chamber. This was minutes before Ashley Babbitt was shot to death near that

location. See Image 6.




       Image 6 - Matson at the doors leading to the House of Representatives Chamber. 3
       Matson walked back towards Statuary Hall in the Hall Connector at approximately 2:52

p.m. to the Rotunda. There, he handed his bullhorn to a female rioter who appeared to use it. See

Image 7.




              Image 7 – Matson in the Rotunda after giving his bullhorn to another rioter 4

3
 Twitter - RichieMcGinniss RichieMcG - Here is the moment I arrived at the doors to The
House.h264.mp4 Timecode: 0:14
4
  Court Document Screenshots &amp; Case Files - James McGrew - Video 13.h264.mp4
https://propublica-data-j6cases-videos.s3.us-east-
                                                5
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 6 of 15




       Matson departed from the U.S. Capitol Building at approximately 3:05 p.m. after having

remained inside for approximately thirty-two minutes. See Image 8.




                    Image 8 – Matson Departing the U.S. Capitol Building


                                   Matson’s FBI Interview

       On April 19, 2022, the FBI interviewed Matson at his address in Ogden, Utah. During the

interview, Matson admitted he flew from Salt Lake City, Utah to North Carolina where he met a

family member and drove to Washington, D.C. to attend the rally in Washington, D.C, on January




1.amazonaws.com/983b83301eed013a64612cde48001122.mp4?_ga=2.202635218.235702899.1
638144294-233311640.1635534856 Timecode: 0:01
                                              6
           Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 7 of 15




6, 2021. Matson identified photos of himself in and outside of the U.S. Capitol and stated he

entered the Capitol’s central door, eventually making it into the House of Representative’s area.

Later, he entered Statutory Hall and provided his bullhorn to a female who asked to use it. After

hearing reports of a shooting in the building, Matson decided to leave. Matson admitted that since

January 6, 2021, Matson had been searching online for himself in videos and photographs

documenting the events of January 6, 2021. He further advised he would accept any consequence

he may have to face for his actions on January 6, 2021.

                                   The Charges and Plea Agreement

          On July 17, 2023, the United States charged Matson by a complaint with violating 18

U.S.C. §§ 1752(a)(1) and (2) and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On October 18, 2023,

pursuant to a plea agreement, Matson pleaded guilty to Count One of the Information, charging

him with a violation of 40 U.S.C. §§ 5104(e)(2)(G). By plea agreement, Defendant agreed to pay

$500 in restitution to the Architect of the Capitol.

   III.      Statutory Penalties

          Matson now faces a sentencing for violating 40 U.S.C. §§ 5104(e)(2)(G). As noted by the

plea agreement and the U.S. Probation Office, Matson faces up to six months of imprisonment and

a fine of up to $5,000. Matson must also pay restitution under the terms of his plea agreement. See

18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008). As

this offense is a Class B Misdemeanor, the Sentencing Guidelines do not apply to it. 18 U.S.C. §

3559; U.S.S.G. §1B1.9.

   IV.       Sentencing Factors Under 18 U.S.C. § 3553(a)

          In this misdemeanor case, sentencing is guided by 18 U.S.C. § 3553(a), which identifies

the factors a court must consider in formulating the sentence. In this case, as described below, the


                                                  7
          Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 8 of 15




Section 3553(a) factors weigh in favor of 14 days of intermittent confinement as a condition of 2

years’ probation, 60 hours of community service, and, consistent with the plea agreement in this

case, $500 in restitution.

           A. The Nature and Circumstances of the Offense

       The attack on the U.S. Capitol on January 6 posed “a grave danger to our democracy.”

United States v. Munchel, 991 F.3d 1273, 1284 (D.C. Cir. 2021). The attack “endangered hundreds

of federal officials in the Capitol complex,” including lawmakers who “cowered under chairs while

staffers blockaded themselves in offices, fearing physical attacks from the rioters.” United States

v. Judd, 21-cr-40, 2021 WL 6134590, at *5 (D.D.C. Dec. 28, 2021). While assessing Matson’s

participation in that attack to fashion a just sentence, this Court should consider various

aggravating and mitigating factors. Notably, for a misdemeanor defendant like Matson, the

absence of violent or destructive acts is not a mitigating factor. Had Matson engaged in such

conduct, he would have faced additional criminal charges.

       One of the most important factors in Matson’s case is the amount of time spent inside the

U.S. Capitol building and his movement to numerous locations inside the building, including at

the doors to the House of Representatives. Also aggravating is his carrying of a bullhorn inside the

Capitol building, where he allowed another person to use it.

       Accordingly, the nature and the circumstances of this offense establish the need for a short

sentence of intermittent incarceration.

           B. Matson’s History and Characteristics

       To his credit, Matson does not have any criminal history according to the PSR. However,

his actions on January 6, 2021, cannot be ignored. Matson was well aware of the appropriate




                                                 8
           Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 9 of 15




means and manners for expressing one’s political views having studied political science/pre-law

at the University of North Carolina.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. As

with the nature and circumstances of the offense, this factor supports a sentence of incarceration,

as it will in most cases, including misdemeanor cases, arising out of the January 6 riot. See United

States v. Cronin, 22-cr-233-ABJ, Tr. 06/09/23 at 20 (“We cannot ever act as if this was simply a

political protest, simply an episode of trespassing in a federal building. What this was an attack on

our democracy itself and an attack on the singular aspect of democracy that makes America

America, and that’s the peaceful transfer of power.”)

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

         General Deterrence

         The need for general deterrence weighs heavily in favor of incarceration in nearly every

case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. “Future would-be rioters must be

deterred.” (statement of Judge Nichols at sentencing, United States v. Thomas Gallagher, 1:21-

CR-00041 Tr. 10/13/2021 at 37).

         General deterrence is an important consideration because many of the rioters intended that

their attack on the Capitol would disrupt, if not prevent, one of the most important democratic

                                                 9
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 10 of 15




processes we have: the peaceful transfer of power to a newly elected President. There is possibly

no greater factor that this Court must consider.

       Specific Deterrence

       The need for the sentence to provide specific deterrence to this particular defendant also

weighs in favor of the sentence recommended by the Government. With more elections

forthcoming, Matson must be deterred from committing any such acts again.

       Availability of Intermittent Confinement as a Condition of Probation

       As a condition of probation, a court may order that the defendant be incarcerated “during

nights, weekends, or other intervals of time, totaling no more than the lesser of one year or the

term of imprisonment authorized for the offense, during the first year of the term of probation or

supervised release.” 18 U.S.C. § 3563(b)(1); see also United States v. Little, 78 F.4th 453, 461 n.7

(D.C. Cir. 2023) (section 3563(b)(1) “contemplates short periods of confinement like ‘nights’ and

‘weekends’ interspersed throughout probation”). The statute was designed to give courts flexibility

in the “fashioning of conditions of probation in order to make probation a useful alternative to a

term of imprisonment.” S. Rep. No. 98-225, at 59 (1983). Because Matson has pleaded guilty to a

violation of 40 U.S.C. § 5104(e)(2)(G), a second-degree misdemeanor, the statutory maximum of

total confinement the Court may impose under § 3563(b)(10) is six months.

       Judges in this district have imposed intermittent confinement as a condition of probation

in many January 6 cases. See, e.g., United States v. Cameron, 22-cr-17 (TFH), ECF No. 36 (D.D.C.

Aug. 17, 2022) (imposing 30 days of confinement in three-day intervals as condition of three years

of probation); United States v. Vuksanaj, 21-cr-620 (BAH), ECF No. 43 (D.D.C. Apr. 29, 2022)

(imposing 42 days of confinement in 14-day intervals as condition of three years of probation).

While the statute refers to multiple intervals, a single short interval is also permissible. See, e.g.,



                                                   10
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 11 of 15




United States v. Valentin, 21-cr-702 (JEB), ECF No. 65 (D.D.C. July 17, 2023) (imposing single

10-day interval of confinement as condition of 12 months of probation); United States v. Escalera,

No. 22-cr-364 (APM), ECF No. 36 (D.D.C. Aug. 8, 2023) (imposing single seven-day interval as

condition of two years of probation); see also S. Rep. No. 98-225, at 99 (noting that statute was

intended to permit a single “brief period of confinement”).

        Here, a condition of intermittent confinement totaling 14 day is sufficient, but not greater

than necessary, to serve the purposes of sentencing under 18 U.S.C. § 3553(a)(2).

           E. The Need to Avoid Unwarranted Sentencing Disparities

        As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such as

in this case, to assault on police officers, to conspiracy to corruptly interfere with Congress. 5 This

Court must sentence Matson based on his own conduct and relevant characteristics, but should

give substantial weight to the context of his unlawful conduct: his participation in the January 6

riot.

        Matson has pleaded guilty to Count One of the Information, charging him with parading,

demonstrating, and picketing in the U.S. Capitol, in violation of 40 U.S.C. § 5104(e)(2)(G). This

offense is a Class A/B misdemeanor. 18 U.S.C. § 3559. Certain Class B and C misdemeanors and

infractions are “petty offenses,” 18 U.S.C. § 19, to which the Sentencing Guidelines do not apply,

U.S.S.G. § 1B1.9. The sentencing factors set forth in 18 U.S.C. § 3553(a), including “the need to




5
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.

                                                  11
            Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 12 of 15




avoid unwarranted sentence disparities among defendants with similar records who have been

found guilty of similar conduct,” 18 U.S.C. § 3553(a)(6), do apply, however.

           Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences explain the differing recommendations and sentences.

While no previously sentenced case contains the same balance of aggravating and mitigating

factors present here, the sentences in the following cases provide suitable comparisons to the

relevant sentencing considerations in this case.

           While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, other judges of this court have sentenced Capitol breach defendants

who spent time in other places within the Capitol.

           In United States v. Frederick Skylor Webb, 23-cr-225 (RCL), Judge Lamberth sentenced a

defendant to 24 months of probation with 14 days intermittent confinement. The defendant entered

the United States Capital Building through the senate wing door at approximately 3:05 p.m.,

filming the events with his cell phone and talking with other rioters until departing the Capitol

after approximately 14 minutes.

           In related cases of United States v. Paul Lovely, 23-CR-19 (CKK) and United States v.

Thomas Carey , 22-CR-375 (CKK), Judge Kollar Kotelly sentenced the defendants to 36 months’

probation and 14 days of intermittent confinement where they: (1) accessed sensitive areas of the

U.S. Capitol building, (2) remained inside the U.S. Capitol building for approximately 30 minutes;

and (3) observed people ram a bicycle rack into an officer and removed media items damaged by

rioters.

           The Government makes its recommendation in light of the D.C. Circuit’s decision in

United States v. James Little, __ F.4th __, No. 22-3018, 2023 WL 5313529 (August 18, 2023).



                                                   12
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 13 of 15




Under Little, this Court may no longer impose a “split sentence” of both probation and

incarceration on a single petty misdemeanor. However, the Little Court recognized the

Government’s argument that 18 U.S.C.§ 3563(b)(10) allows a defendant on probation to “remain

in the custody of the Bureau of Prisons during nights, weekends, or other intervals of time.” See

Little, 2023 WL 5313529 at 7 n. 7. The Court further noted that the statute expressly contemplated

a short period of confinement like nights and weekend. See id. Thus, the Government makes its

recommendation in this case consistent with Little to reflect a need to deter future criminal actions

that supervision would have ensured.

        In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently—differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   V.      Restitution

        The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639



                                                 13
         Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 14 of 15




F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to

restitution under the VWPA). 6 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The parties agreed, as permitted

under 18 U.S.C. § 3663(a)(3), that Matson must pay $500 in restitution, which reflects in part the

role Matson played in the riot on January 6. 7 Plea Agreement at ¶ 11. As the plea agreement

reflects, the riot at the United States Capitol had caused “approximately $2,923,080.05” in

damages, a figure based on loss estimates supplied by the Architect of the Capitol and other

governmental agencies as of July 2023.” Id. (As noted above in footnote 1, the amount of damages

has since been updated by the Architect of the Capitol, USCP, and MPD.) Matson’s restitution

payment must be made to the Clerk of the Court, who will forward the payment to the Architect

of the Capitol and other victim entities. See PSR ¶ 11.




6
 The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
7
 Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).

                                                 14
          Case 1:23-cr-00349-TJK Document 21 Filed 01/06/24 Page 15 of 15




   VI.      Conclusion

         Sentencing requires the Court to carefully balance the § 3553(a) factors. Balancing these

factors, the government recommends that this Court sentence Defendant to2 years of probation

with 14 days of intermittent confinement, 60 hours of community service, and, consistent with the

plea agreement in this case, $500 in restitution. Such a sentence protects the community, promotes

respect for the law, and deters future crime by imposing restrictions on Matson’s liberty as a

consequence of his behavior, while recognizing his acceptance of responsibility for his crime.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                      By:     s/ Joseph Huynh
                                              JOSEPH H. HUYNH
                                              D.C. Bar No. 495403
                                              Assistant United States Attorney (Detailed)
                                              405 East 8th Avenue, Suite 2400
                                              Eugene, Oregon 97401-270




                                                15
